           Case 1:20-cv-03009-MKD                   ECF No. 21        filed 11/04/20       PageID.2578 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                                                                    U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF WASHINGTON
                                                                  for thH_
                                                     Eastern District of Washington
                                                                                                              Nov 04, 2020
                         MICHAEL P.,                                                                               SEAN F. MCAVOY, CLERK


                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 1:20-cv-03009-MKD
                                                                     )
                  ANDREW M. SAUL,                                    )
               COMMISSIONER OF SOCIAL
                     SECURITY,
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment, ECF No. 15, is GRANTED. 2. Defendant’s Motion for Summary Judgment,
u
              ECF No. 18, is DENIED. JUDGMENT entered in favor of Plaintiff REVERSING and REMANDING the matter to the
              Commissioner of Social Security for immediate calculation and award of benefits.



This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge                   Mary K. Dimke                                             on motions for summary judgment.




Date: November 4, 2020                                                     CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Pam Howard
                                                                                           %\ Deputy Clerk

                                                                            Pam Howard
